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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  JEFFREY MOZINGO,

               Petitioner,

  v.                                           Civil Action No. 5:07CV158
                                        (Criminal Action No. 5:05CR64-04)
  UNITED STATES OF AMERICA,                                       (STAMP)

               Respondent.


                         MEMORANDUM OPINION AND ORDER
                DISMISSING AS MOOT AUGUST 8, 2008 REPORT AND
                     RECOMMENDATION OF MAGISTRATE JUDGE,
            AFFIRMING AND ADOPTING SEPTEMBER 8, 2008 REPORT AND
                   RECOMMENDATION OF MAGISTRATE JUDGE AND
               AFFIRMING AND ADOPTING DECEMBER 2, 2008 REPORT
                   AND RECOMMENDATION OF MAGISTRATE JUDGE

                             I.   Procedural History

        The pro se1 petitioner, Jeffrey Mozingo, filed a motion under

  28 U.S.C. § 2255 to vacate, set aside or correct a sentence by a

  person in federal custody, asserting that he received ineffective

  assistance of counsel.          As a result of an order directing the

  respondent to answer, the respondent filed a response to the

  petitioner’s § 2255 petition to which the petitioner replied and

  filed a motion for summary judgment.

        The matter was referred to United States Magistrate Judge

  James E. Seibert for initial review and report and recommendation

  pursuant to Local Rule of Prisoner Litigation Procedure 83.15.            On

  September 8, 2008, Magistrate Judge Seibert issued a report and



        1
        “Pro se” describes a person who represents himself in a court
  proceeding without the assistance of a lawyer.         Black’s Law
  Dictionary 1237 (7th ed. 1999).
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  recommendation recommending that the petitioner’s § 2255 petition

  be denied as to all grounds, except as to petitioner’s argument

  that he received ineffective assistance of counsel because his

  attorney did not file an appeal of his sentence, as requested by

  the petitioner.2         The magistrate judge advised the parties that,

  pursuant to 28 U.S.C. § 636(b)(1)(C), any party may file written

  objections to his proposed findings and recommendations within ten

  days after being served with a copy of the magistrate judge’s

  recommendation.      The petitioner filed objections.

          On November 14, 2008, the magistrate judge held an evidentiary

  hearing on the allegation that counsel failed to file an appeal as

  directed by the petitioner. The petitioner was represented at this

  evidentiary hearing by John J. Pizzuti, Esquire.           At this hearing,

  testimony was heard from both the petitioner and his former

  counsel, L. Richard Walker, Esquire.          Thereafter, on December 2,

  2008,       Magistrate   Judge   Seibert   issued   a   second   report   and

  recommendation recommending that the petitioner’s § 2255 motion be

  denied as to the ground that petitioner instructed his counsel to

  file an appeal.      Again, the magistrate judge informed the parties

  that if they objected to any portion of the report, they must file

  written objections within ten days after being served with copies


          2
        The magistrate judge entered an initial report and
  recommendation in this matter on August 8, 2008.   However, on
  September 8, 2008, the magistrate judge then issued an amended
  report and recommendation for the sole purpose to correct his
  disposition of the petitioner’s motion for summary judgment.
  Accordingly, the magistrate judge’s August 8, 2008 report and
  recommendation is hereby dismissed as moot.

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  of the report.         The petitioner filed timely objections to the

  report and recommendation.

           For the reasons set forth below, this Court finds that both

  the September 8, 2008 report and recommendation, as well as the

  magistrate judge’s December 2, 2008 report and recommendation,

  should     be    affirmed    and    adopted       in    their     entirety,    that   the

  petitioner’s motion for summary judgment should be denied, and that

  the petitioner’s § 2255 motion to vacate, set aside, or correct

  sentence should be denied and dismissed.

                                          II.    Facts

           On April 14, 2006, the petitioner plead guilty in the Northern

  District of West Virginia to one count of conspiracy to possess

  with intent to distribute in excess of 100 kilograms of marijuana,

  in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B).                     The petitioner

  was sentenced on December 4, 2006, to 51 months imprisonment to be

  followed by four years of supervised release.

                                   III.   Applicable Law

           Pursuant to 28 U.S.C. § 636(b)(1)(C), this Court must conduct

  a   de    novo   review     of    any    portion       of   the   magistrate    judge’s

  recommendation to which objection is timely made.                        As to those

  portions of a recommendation to which no objection is made, a

  magistrate judge’s findings and recommendation will be upheld

  unless they are “clearly erroneous.”                   See Webb v. Califano, 468 F.

  Supp. 825 (E.D. Cal. 1979).                   Because the petitioner has filed

  objections to both the magistrate judge’s September 8, 2008 report



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  and recommendation, as well as the magistrate judge’s December 2,

  2008 report and recommendation, this Court will undertake a de novo

  review as to those portions of the reports and recommendations to

  which objections were made.

                               IV.   Discussion

        The petitioner contends in his § 2255 petition that he

  received ineffective assistance of counsel because his attorney

  failed to (1) file a notice of appeal when instructed to do so; (2)

  object to the presentence investigation report’s recommendation of

  a two-level enhancement for possession of a dangerous weapon during

  the offense; (3) object to the court not reducing his sentence to

  24 months per the plea agreement for substantial assistance; and

  (4) object to the petitioner not receiving the full three-point

  reduction for acceptance of responsibility.

  A.    September 8, 2008 Report and Recommendation: Grounds Two,

  Three, and Four of § 2255 Petition

        Upon review of the record and the applicable law, Magistrate

  Judge Seibert recommended that the petitioner’s § 2255 application

  be   denied,   with   the   exception    of   an   evidentiary   hearing   to

  determine whether the petitioner requested his attorney to file an

  appeal and whether counsel ignored or refused instructions.                The

  petitioner filed objections.

        Based upon a de novo review, this Court agrees with the

  magistrate judge’s September 8, 2008 report and recommendation and

  thereby overrules the petitioner’s objections.            In Ground Two of



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  his petition, the petitioner claims that his counsel rendered

  ineffective assistance by failing to object to the presentence

  investigation report’s recommendation of a two-level enhancement

  for possession of a dangerous weapon during the offense.                This

  claim is factually inaccurate.         Rather, counsel did object on this

  precise issue at the sentencing hearing, a fact that even the

  petitioner concedes in his reply brief.        (Statement of Reasons for

  Sentence, Def.’s Objection No. 2, Docket No. 193, at 5).

        Similarly, in Ground Three, the petitioner argues that his

  counsel was ineffective because he failed to object to the court

  not reducing his sentence to 24 months per the plea agreement for

  substantial assistance.      Again, this Court finds that counsel did

  object on this issue at the sentencing hearing.              (Statement of

  Reasons for Sentence, Def.’s Objection No. 7, Docket No. 193, at

  6).   Moreover, the petitioner, in his reply, quotes his counsel

  arguing for the substantial assistance reduction.

        Finally, the petitioner argues in Ground Four of his petition

  that his counsel rendered ineffective assistance by failing to

  object   to   the   petitioner   not    receiving   the   full   three-point

  reduction for acceptance of responsibility.         Such a claim is, once

  again, factually inaccurate.       The petitioner’s counsel did object

  concerning this exact issue at the sentencing hearing.           (Statement

  of Reasons for Sentence, Def.’s Objection No. 8, Docket No. 193, at

  7.)   The petitioner even cites in his reply those sections of the

  sentencing transcript where counsel argued this issue.



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          Accordingly, for these reasons, this Court must affirm and

  adopt     the      magistrate   judge’s     September         8,   2008    report      and

  recommendation        denying    Grounds        Two,   Three,      and    Four    of   the

  petitioner’s § 2255 petition.

  B.      December 2, 2008 Report and Recommendation: Ground Four of

  § 2255 Petition

          In   his    December    2,   2008   report      and    recommendation,         the

  magistrate judge recommended that the petitioner’s § 2255 motion be

  denied as to the ground that the petitioner instructed his counsel

  to file an appeal.        The petitioner filed timely objections.

          Failure by a criminal defense attorney to file a notice of

  appeal when a client requests such action results in a deprivation

  of the defendant’s Sixth Amendment right to the assistance of

  counsel irrespective of the likelihood of success on appeal.

  United States v. Peak, 992 F.2d 39, 42 (4th Cir. 1993).                          “Counsel

  performs in a professionally unreasonable manner only by failing to

  follow the defendant’s express instructions with respect to an

  appeal.”      Roe v. Flores-Ortega, 528 U.S. 470, 478 (2000).

          In this case, the petitioner contends that his former counsel,

  L. Richard Walker (“Mr. Walker”), was ineffective by failing to

  file an appeal pursuant to his alleged request.                    Specifically, the

  petitioner testified that he instructed Mr. Walker to file an

  appeal during a December 15, 2006 phone conversation.

          Contrary to the petitioner’s testimony, Mr. Walker testified

  at the evidentiary hearing that the petitioner never asked him to



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  file an appeal.    Rather, Mr. Walker testified that he discussed an

  appeal with the petitioner and drafted a letter dated December 6,

  2006, advising the petitioner of his right to appeal. Further, the

  petitioner called Mr. Walker’s office on or about December 14,

  2006, and told Mr. Walker’s legal assistant that he wanted to

  discuss an appeal, but did not instruct the legal assistant to file

  an appeal on his behalf.         Mr. Walker testified that he sent a

  second letter to the petitioner on December 14, 2006, in response

  to the petitioner’s phone call and in an attempt to determine

  whether the petitioner wished to file an appeal.3           Mr. Walker then

  testified that he had a phone conversation with the petitioner on

  December 15, 2006, in which the petitioner instructed him not to

  file an appeal, and that the petitioner never contacted him

  thereafter to change his mind.         Mr. Walker did testify, however,

  that sometime in May or June 2007, the petitioner contacted Mr.

  Walker    asking   him   to   handle   the   petitioner’s    habeas   corpus

  petition.4

        This Court has conducted a de novo review and concludes that

  Mr. Walker was not ineffective for failing to file a notice of

  appeal.    In light of the testimony given by the petitioner and Mr.

  Walker, this Court finds that Mr. Walker is a more credible

  witness.     Moreover, the fact that the petitioner asked Mr. Walker


        3
         The petitioner testified that he never received this letter.
        4
        Mr. Walker informed the petitioner that he could not handle
  the habeas corpus petition because his appointment as counsel had
  been terminated.

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  to represent him on his habeas corpus petition now makes his

  testimony that Mr. Walker ignored his request to file an appeal

  highly suspect.        Accordingly, the petitioner’s claim that Mr.

  Walker was ineffective for failing to file a notice of appeal must

  be denied.

                                 V.    Conclusion

         Based upon a de novo review, this Court finds that the

  September 8, 2008 and December 2, 2008 reports and recommendations

  of the magistrate judge should be, and are hereby, AFFIRMED and

  ADOPTED in their entirety.         Accordingly, for the reasons set forth

  above, the petitioner’s motion for summary judgment is DENIED, and

  the   petitioner’s     §   2255    petition   is    DENIED     WITH   PREJUDICE.

  Furthermore, the magistrate judge’s August 8, 2008 report and

  recommendation is DISMISSED AS MOOT.              It is further ORDERED that

  this civil action be DISMISSED and STRICKEN from the active docket

  of this Court.

         Should the petitioner choose to appeal the judgment of this

  Court to the United States Court of Appeals for the Fourth Circuit

  on issues to which objection was made, he is ADVISED that he must

  file a notice of appeal with the Clerk of this Court within thirty

  days after the date that the judgment order in this case is

  entered.   See Fed. R. App. P. 4(a)(1).            Upon reviewing the notice

  of    appeal,   this   Court      will   either    issue   a   certificate    of

  appealability or state why a certificate should not be issued in

  accordance with Federal Rule of Appellate Procedure 22(b)(1).                If



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  this Court should deny a certification, the petitioner may request

  a circuit judge of the United States Court of Appeals for the

  Fourth Circuit to issue the certificate.

        IT IS SO ORDERED.

        The Clerk is directed to transmit copies of this order to the

  pro se petitioner by certified mail and to counsel of record

  herein.   Pursuant to Federal Rule of Civil Procedure 58, the Clerk

  is directed to enter judgment on this matter.

        DATED:     March 2, 2009



                                     /s/ Frederick P. Stamp, Jr.
                                     FREDERICK P. STAMP, JR.
                                     UNITED STATES DISTRICT JUDGE




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